        Case 2:18-cv-01549-NBF Document 63 Filed 03/04/21 Page 1 of 2




                      UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                                 __________

                                      No. 20-2061
                                      __________

                                     LISA ELLIS,
                                               Appellant

                                           v.

                      BANK OF NEW YORK MELLON CORP.
                                __________

                   On Appeal from the United States District Court
                      for the Western District of Pennsylvania
                              (D.C. No. 2-18-cv-01549)
                   Honorable Nora B. Fischer, U.S. District Judge
                                    __________


                     Submitted Under Third Circuit L.A.R. 34.1(a)
                                 on March 1, 2021

              Before: KRAUSE, PHIPPS, and FUENTES, Circuit Judges

                                      __________

                                     JUDGMENT
                                      __________


      This cause came to be considered on the record from the United States District Court

for the Western District of Pennsylvania and was submitted pursuant to Third Circuit

L.A.R. 34.1(a) on March 1, 2021.

      On consideration whereof, it is now hereby ORDERED and ADJUDGED by this

Court that the order of the District Court entered on May 20, 2020, be and the same is
         Case 2:18-cv-01549-NBF Document 63 Filed 03/04/21 Page 2 of 2




hereby AFFIRMED. Costs will be taxed against Appellant. All of the above in accordance

with the Opinion of this Court.


                                              ATTEST:


                                              s/ Patricia S. Dodszuweit
                                              Clerk
DATED: March 4, 2021
